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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA


 SASHA PIPPENGER,

                Plaintiff,

         v.                                              Civil Action No. 25-1090 (BAH)

 U.S. DOGE SERVICE, et al.,

                Defendants.


                                            ORDER

        UPON CONSIDERATION of the parties’ joint motion to stay, and the entire record herein,

it is hereby

        ORDERED that the motion is GRANTED, and it is further

        ORDERED that the stay will automatically terminate upon notice filed with the Court that

the D.C. Circuit has (1) granted the Government’s pending motion to stay in U.S. Institute of

Peace v. Jackson, 25-cv-804, or (2) vacated or modified any portion of the judgment in

Jackson, and that if either event occurs, the Government will promptly file notice of it on the

Pippenger docket;

        ORDERED that Plaintiffs may lift the stay at any point for any reason with two

weeks’ email notice to Defendants; and it is further

        ORDERED that in the event that the stay is lifted for any reason, Plaintiffs will

promptly provide email notice to Defendants whether they will maintain the discovery

motion that is currently pending at ECF No. 35, whether Plaintiffs withdraw that motion

without prejudice, or whether Plaintiffs will file an amendment to the discovery motion that

is currently pending. If Plaintiffs proceed with their current motion, Defendants will have

two weeks from Plaintiffs’ notice to respond. If Plaintiffs amend their discovery motion, they
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will do so within two weeks of providing notice to Defendants, Defendants will have two

weeks from the filing of the amended motion to respond, and Plaintiffs will have one week to

reply; and it is further

        ORDERED, that in the event the stay is lifted for any reason, Defendants will have

four weeks to respond to the first amended complaint at ECF No. 9; and it is further

        ORDERED that Defendants reserve the right to move to re-stay the case for good cause;

and it is further

        ORDERED that the parties will file a joint status report with the Court every 60 days

from the date of this order.



SO ORDERED:

__June 5, 2025___                                    ___________________________________
Date                                                 BERYL A. HOWELL
                                                     United States District Judge




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